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               Of Attorneys for Defendant Berkshire
               Life Insurance Company of America




                                         IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF OREGON

                                                 PORTLAND DIVISION


       JOHN BELKNAP,                                                                      No. __________

                             Plaintiff,
                                                          NOTICE OF REMOVAL OF ACTION
               v.                                         UNDER 28 U.S.C. §§ 1332, 1441, AND 1446
                                                          (DIVERSITY OF CITIZENSHIP)
       BERKSHIRE LIFE INSURANCE
       COMPANY OF AMERICA,                                DEMAND FOR JURY TRIAL

                             Defendant.


               Defendant Berkshire Life Insurance Company of America (“Berkshire” or “Removing

      Defendant”), by and through its undersigned counsel, removes this action from the Circuit Court of

      the State of Oregon, County of Wasco, where it is currently pending, to the United States District

      Court for the District of Oregon pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. As addressed




Page 1 -       NOTICE OF REMOVAL OF ACTION UNDER 28                               SCHWABE, WILLIAMSON & WYATT, P.C.
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      below, diversity jurisdiction exists in this action. See U.S.C. § 1332(a). In support of this removal,

      Removing Defendant states as follows:

      I.       INTRODUCTION AND BACKGROUND.

               1.       On or about November 12, 2015, Plaintiff filed a Complaint (“Complaint”) captioned

      John Belknap v. Berkshire Life Insurance Company of America, Case No. 15CV30761, in the Circuit

      Court for the State of Oregon for the County of Wasco. (See Compl., attached hereto as part of

      Exhibit A.) Plaintiff alleges Berkshire wrongly terminated his disability benefits under Policy Nos.

      Z0148340 and Z1743940 in November 2013 and has suffered monetary damages as a result of said

      termination.

               2.       As more fully set forth below, this case is properly removed to this Court under 28

      U.S.C. § 1441 because (1) Removing Defendant has satisfied the procedural requirements for

      removal and (2) this Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1332

      and 1441.

      II.      REMOVING DEFENDANT HAS SATISFIED THE PROCEDURAL
               REQUIREMENTS FOR REMOVAL
               1.       Removal is timely pursuant to 28 U.S.C. § 1446(b) because less than thirty (30) days

      have passed since service of the Complaint on the Removing Defendant. 1

               2.       Pursuant to 28 U.S.C. § 117 and LR 3-2(a)(3), the United States District Court for the

      District of Oregon, Portland Division, is the federal judicial district and division encompassing the

      Circuit Court of the State of Oregon, County of Wasco, where this lawsuit was originally filed.

      Venue is thus proper because this is the “district and division embracing the place where such action

      is pending.” See 28 U.S.C. § 1441(a).

               3.       As required by 28 U.S.C. § 1446(a), Removing Defendant attaches a copy of all



               1
               Subject to and without waiving its right to assert any defenses as to service, the Removing
      Defendant acknowledges that Plaintiff attempted service on it on or around November 23, 2015. As
      such, removal is timely for purposes herein.
Page 2 -                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
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      process, pleadings, and orders served upon them, including summons and the Complaint, which is

      attached hereto as Exhibit A.

               4.       As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

      promptly served upon counsel for Plaintiff and a copy is being filed with the Clerk of the Circuit

      Court of the State of Oregon, County of Wasco. A true and correct copy of “Defendants’ Notice to

      State Court of Removal of Action Under 28 U.S.C. §§ 1332, 1441, and 1446 (Diversity of

      Citizenship)” filed in the Circuit Court of the State of Oregon, County of Wasco, is attached hereto

      as Exhibit B.

      III.     REMOVAL IS PROPER BECAUSE THE COURT HAS SUBJECT MATTER
               JURISDICTION UNDER 28 U.S.C. §§ 1332 AND 1441.
               5.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1332 and 1441 because

      this is a civil action in which the amount in controversy exceeds $75,000, exclusive of costs and

      interest, and is between citizens of different states.

               A.       Complete Diversity of Citizenship Exists Among All Proper Parties.

               6.       Upon information and belief, Plaintiff is, and at the time of the filing of the action

      was, a citizen of Oregon. (See Compl. ¶ 1.)

               7.       Defendant Berkshire Life Insurance Company of America is, and at the time of the

      filing of the action was, a corporation organized and existing under the laws of the Commonwealth

      of Massachusetts, and having its principal place of business in Massachusetts. Berkshire Life

      Insurance Company of America is therefore a citizen of Massachusetts for purposes of determining

      diversity. See 28 U.S.C. § 1332(c)(1).

               8.       Accordingly, this action involves “citizens of different States.” 28 U.S.C.

      § 1332(a)(1)-(2). Because Plaintiff is an Oregon citizen and no defendant properly joined and served

      is a citizen of the State of Oregon, removal of this action is proper under 28 U.S.C. § 1441(b).

               B.       The Amount-In-Controversy Requirement Is Satisfied.

               9.       The amount-in-controversy requirement of 28 U.S.C. § 1332(a) is satisfied by a


Page 3 -                                                                               SCHWABE, WILLIAMSON & WYATT, P.C.
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      preponderance of the evidence based on the nature and extent of the damages alleged in the

      Complaint. See Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2007); Sanchez v.

      Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996).

               10.      In this case, it is clear from the face of Plaintiff’s Complaint that the “matter in

      controversy exceeds the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C.

      § 1332(a). Plaintiff seeks economic damages in the amount of $168,480.00. (Compl. ¶¶ 25, 28,

      Prayer.) In addition, Plaintiff demands judgment against Berkshire for future economic damages

      and attorney fees. (Compl. ¶¶ 26, 29, Prayer.)

               11.      Given the nature and extent of damages alleged by Plaintiff, it is clear from the face

      of the Complaint that the amount-in-controversy is satisfied.

               WHEREFORE, Defendant Berkshire Life Insurance Company of America hereby removes

      the above-captioned action from the Circuit Court of the State of Oregon, County of Wasco, to the

      United States District Court for the District of Oregon, Portland Division.

               Dated this 22nd day of December, 2015.
                                                       Respectfully submitted,

                                                       SCHWABE, WILLIAMSON & WYATT, P.C.



                                                       By:     s/ Jeffrey D. Hern
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                                                               Insurance Company of America




Page 4 -                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
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                                         CERTIFICATE OF SERVICE

               I hereby certify that on the 22nd day of December, 2015, I caused to be served the

      foregoing NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1332, 1441, AND 1446

      (DIVERSITY OF CITIZENSHIP) on the following party as follows:

                 Michael J. Knapp                                      Hand Delivery
                 Attorney at Law                                       Facsimile
                 621 S.W. Morrison Street, Suite 900                   U.S. Mail
                 Portland, OR 97205                                    Overnight Courier
                 Telephone: 503-222-6508                               Email
                 Facsimile: 503-222-6518                               electronic service
                 Email: mknapp@spiretech.com                           other (specify) ______________

                        Of Attorneys for Plaintiff




                                                     s/ Jeffrey D. Hern
                                                     Jeffrey D. Hern, OSB #043138




Page 1 -    CERTIFICATE OF SERVICE                                                 SCHWABE, WILLIAMSON & WYATT, P.C.
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